Case 2:12-md-02327 Document 1365-1 Filed 10/30/14 Page 1 of 2 PageID #: 16461


                           MDL 2327 - EXHIBIT A

                            Originating       Originating     SDWV – MDL
        Plaintiffs           District          Case No.      Member Case No.

                         Oklahoma Western     5:14-cv-702      2:14-cv-27081
Michelle States
Johnnie Harper
Patricia Ordino
Kim Darnall
Debbilyn Davila
Jamie Davis
Kimberly Denton
Susie Di Pierro
John Di Pierro, Sr.
Janet Dicke
Anora Dike
Sophie Dimaccio
Vallie Dixon
Mary Doss
Vonda Douros
Deborah Dube
Stephanie Duddridge
Sherry Dunston
Deanna Eagles-Thompson
Bryn Efseroff
Kim Egginton
Christina Elzig
Barry Elzig
LucyAnn Englebert
Stella Evans
Vera Lois Fitzjarrell
Betty L. Fitzsimmons
Alma Flanagan
Glenda Fleming
Shannon Ford
Beverly Fridley
Amanda Fuller
Tonya Gallardo
Susan Gardner
Christy Gardom
Ashley Gibbs
Mary Goodman
Karen Gotshall
Estella Granillo
Anita Green
Leann Greubel
Leticia Grijalva
Margie Grimes
Case 2:12-md-02327 Document 1365-1 Filed 10/30/14 Page 2 of 2 PageID #: 16462


                            Originating       Originating     SDWV – MDL
         Plaintiffs          District          Case No.      Member Case No.

                          Oklahoma Western    5:14-cv-702      2:14-cv-27081
Holly Hahn
Rita Hall
Donna Hamrick
Joleen Harless
Johnnie Harper
Wanda Hartley
Linda Hartzell
Mildred Hatcher
Debra Haugh
Phyllis Hawkins
Travis Hawkins
Lila Hawkins
Robert W. Hawkins
Kittie Henzlik
Florence Hernandez
Bonnie Heuer
Lori Higdon
Debra Higginbotham
Lisa Hill
Natalie Hodgkinson
Joyce Holloway
Carol Holzem
Vicki Homan
Carla Hopp
Cynthia Howard
Rhonda Hudgins
Ramona Hulburd
Phyllis Human
Brenda Hunnicutt Taylor
Jennifer Hutchins
Roslyn Jackson
Natalie Jo Jackson
Tammy Jackson
Alma Jeffries
